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                         EXHIBIT “A” 
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                      Assigned __r::._:::.~;;...::..~--
               1 TI IOMAS V. GIRARDI , (SilN: 36603)
                   KEITH D. GRIFFIN, (SDN: 204388)
               2 GIRARDI I KEESE
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                   1126 WILSlllRE BOULEVARD                                              County of los A alltom;a
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               3 LOS ANGELES CAUFORNIA 900 17
                   Telephone: (213) 977-0211                                               DEC 03 2018
               4 · Facsimile: (213) 481-1554                                     Sh
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                                                                                         ExeC11tJve Ott ~
                                                                                                        &'Cieri( ot Court
               5 EBBY S. 13/\KIITIAR, ESQ. (SBN: 2 15032)                                   Isaac lo\lO          ~
                 LIVINGSTON • BAKIITIAR.
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                 Los ANGELES, CALIFORNIA 90010
               7 TEL: (213) 632-1550
                 FAX: (213) 632-3100
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       ~       8
                 Allorncys for Plaintiffs and the Putative Class
               9

              10
                                         SUPERIOR COURT OF TI-IE STATE OF CALIFORNIA
              I1
                                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT
              12
              13
                                                                                    18STCV06982
                   SEAN SILVER, ALINE BACA, individually               CLASS ACTION COMPLAINT
              14   and on behalf ol' all others similarly -;ituatcd,
                                                                          t,   llREAC l-1 OF WRITTEN CONTRACT
              15                   J>lain1iffs.                           2.   NEGl.lGENCE
                                                                          3.   VIOLATION OF CALIFORNI,'\ 's UNFAIR
              16           \I                                                  COMPETITION LA w CAL. Bus. & PROF.
                                                                               CODE§ 17200 ~ UNI.A Wf'UL BUSINESS
              I? MARRIOT!' INTERNATIONAi., INC., a                              PR,\CTICES
              18 Delaware corporation; STAR WOOD                          4.   VIOLATION OF C\LIFORNIA 's UNFAIR
                 HOTELS & RESORTS WORLDWIDE, LLC,                              COMl'ETITION      LA w CAL. Bus. & PROF.
              19 a Maryland Limited Liability Company and                      CODE§ 17200 UNFAIR BUSINESS
                 DOES l through I 00, inclusive,                               PRA CTI CES
              20
                                                                          5.   VIOLAT ION OF C ,\LlfORNIA 's UNFAIR
              21                   Defendants.                                 COMPETITION       LA w CAL. Bus. &       PROF.
                                                                               CODI~§ 17200 FRAUDULENT/DECEPTIVE
              22                                                               BUSINESS PRACTICES
                                                                          6.   CO:--:STITUTIONAL INVASION Of
              23                                                               PRIVACY
                                                                          7.   NEGLIGENCE I'l:'R S1:·
              24
                                                                          8.   BREACH or COVENANT OF DLTY m
              25                                                               GOOI) FAITII AND FAIR DEALING
                                                                          9.   VIOLAT ION OF STATE DATA BR E,\Cll
              26                                                               ACTS

              27                                                       .J URY TRIAL DF.MANllF,ll
              28


                                                         C l.ASS ACTION C'O~PI.AIN'r-



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                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

                  2           PLAINTIFFS alleges, upon information and belief, based upon the investigation made by

                  3    and through their attorneys, except those allegations relating to Plaintiffs and their attorneys,

                  4 which are alleged upon knowledge, as follows

                   5                                    CLASS ACTION COMPLAINT

                  6            Scan Si Iver and Aline Baca ("Plaintiff.c;"), hoth individually and on behalf of all others

                   7   similarly situated ("California Class" and ·'National Class''), alleges the following:

                                                       I.      NATURE OF TH E ACTION
                   9           I.      Marriott fntcrnational, Inc . (here inafter ''MA R" ' 'Marriott" or "Defendant" ) represents

                  IO   itself to be the world' s largest hotel company. M AR has over 6,700 pro perti es in 130 countries and

                  11   lcn-itorics and has over I 9 Billion in revenue. On or around November 30, 2018, MAR disclosed that

                  12   an estimated 150 million consumers ' prh•atc personal and financial information was obtained by an

                  13   unauthorized third pai1y in one of the largest data breaches to date. On information and belief: it is

                  14   believed this data breach began around 2014.

                  15           2.      Plaintiffs, both individually and on bchal foflhosc similarly situated persons (hcrcalkr

                  16 ·'Class Members"), brings this Class Action to secure redress against MAR for their reckless and

                  17 negligcnl violations of customer privacy rights. Plaintiffs and Class Members are fonner customers

                  18   who entrusted Marriott with their financial information, email address and passwords.

                  19           3.      Plaintiffs and Class Members suffered injury. The security breach compromised email

                  20   addresses, passwords, and on information and belief, full names, addresses, credit/debit card numbers,

                  21   passport information. communication prclcrcnccs and other Private identifiable Information ("PII'").

                  22           4.      A s a result of Marriott's ,vrongful actions and inactions, customer information was

                  23   stolen. Many of the customers who entrusted MAR with their Jinancial information have had their Pll

                  24   compromised, have had their privacy rights violated, have been exposed to lhc risk of frau<l and

                  25   identify theft, an<l have otherwise suffered damages.

I   •   ~
                  26                                              II.      PARTIES
                  27
                  28

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                                                             Cl.ASS ACTION COMPLAIN I"




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                  5.      At all times relevant to this action, named Plaintiffs, Scan Silver, is and was, a resident

     2    of Los Angeles County. S uttc of California. Aline Baca is and was a resident of Stanislaus County,
     3    California.

     4            6.      Plaintiffs' brings this action on her own behalf and on behalf of all others similarlv
     5 s ituated, namely all other individual s \\·ho have entrusted MAR with their PII, expecting Marriott to
     6    protect that data.

      7           7.      Upon information and belief, Defondant MAR is a Delaware corporation, doing
      8 substantial business in California with one      or its California addresses listed as 900 West Olympic
      9 Blvd. I.os Angeles CA 900 I 5. Defendant Starwood Hotels & Resorts Worldwide, LLC is a Maryland
     IO Limited Liability Company that further docs substantial business in California.

     11           8.      The true names and/or capacities, whether individual, corporate, associate or otherwise,

     12   or Dcfon<lants Docs    I through I 00, im:lusivc, and each of them, ure unknown to Plaintiffs, who

     13 therefore sue said Defendants by such fictitious names. Plaintiffs arc informed and believe, and upon

     14   such information and belief allege, that each of the Defendants fictitiously named herein as a Doc is

     15   legally responsible, negligently or in some other actionable manner, for the events and happenings

     16 hereinafter rcforrcd lo, and proximately caused the injuries and damages to Plaintiffs hereinafter
     I 7 alh:gcd. Plaintiffs ,viii seek leave of Court to amend this Complaint to assert the true names and/or
     18   capacities of such fictitiously named Defendants when the same have been ascertained.

     19           9.       Plaintiffs is infonnc<l and believes and thereupon alleges, that at all times

     20 mentioned herein, Defendants, and each of them, including Docs I through I 00, were the agents,
     21   servants, employees and/or joint ventures of their co-Defendants. and were, as such, acting within

     22   the course. scope a nd authority of said agency, employment and/or joint venture, and that each and

     23   every Defendants, as aforesaid. when acting as a principal, was negligent in the selection and

     24 hiring of each and every Defendants as an agent. employee and/or joint venturers.
     25                                   Ill.    .JURJSDICflON AND VENUE

     26            10.     This is brought as a class action to remedy violations of California law by Defendant
     27 Marriott. This Court has jurisdiction over this action because it is a class action and the amount in
     28   controversy is in c..;ce-;s of the jurisdictional minimum of this Court.

                                                               3
                                                 CLASS l\CTION COMPLAINT



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                        l 1.       Specifically, Dctcndnnt engaged in substantial marketing, adve1tising, promotion, and

            2    selling of Marriott services throughout California.          This Court has personal jurisdiction over

            3    Defendant because of the business they conduct in California and thus has sufficient minimum

            4    contacts.

            5            12.       The Court also has personal jurisdiction over the Parties because Marriott conducts a

            6 major part of their nat ional operations with regular and continuous business activity in California, on

            7 information and belief, through its website both not exceeded in other jurisdictions throughout the

            8    United States.

            9            13.       Venue is proper in Los Angeles County pursuant to Sec1io11 395(a) of the Code 4 Cil'il

            IO   Procedure. Defendant conducts business in I .os Angeles, many of the acts giving rise to the violations

           11    complained of occurred in Los Angeles County. and because Plaintiffs resides in Los Ange ks County.

            12                                   JV.     SUBSTANTIVE ALLEGATIONS

            13 A.        Tire Dlltll Bre'1clr Uurave/~-

            14           14.        Marriott owns and operates over thirty hotel brands is one the largest, i r not the largest

            15 hospitality company in the world.

            16           15.        On November 30, 2018 a major cybcrsccurity breach was disclosed by Marriott.

            17 Defendant Marriott disclosed that hackers gained access to sensitive personal data for up lo 500

            18 Million people worldwide, including their PII as defined above.

            19               16.    MAR has not disdoscd more details about the hack.

            20               17.    MAR · s stock has dropped considerably on the news of the data breach.

            21               18.    Consumers, induding Plaintiffs und Class Members, paid substantial prem iums for

            22 Marriott services and trusted MJ\R with their sensiti ve data.

.,          23    B.         Stolen fllform{lfio11 ls Va/m,hle to 1/{lckers and T/rieves

            24               19. It is well known, and the subject of muny media reports, that payment card data is highly

            25    coveted and a frequent target of hackers. Especially in the technology industry, the issue of data

            26    security and threats thereto, is well known. Despite wel l-publicized litigation and frequent public

            27    announcements of data breaches, Marriott op led to maintain an insufficient and inadc4uale system to
            28    protect the payment information of Plaintiffs and Class Members. Private Identifiable Information is

                                                                         4
                                                           CL ASS ACTION COMPLAINT



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           also highly coveted and a frequent target of hackers. Despite well-publicized litigation and frequent

     2     public announcements of data breaches, Maniott and its afliliates opted to maintain an insufficient and

     3     inadequate system to protect the Pll of Plaintiffs and Class Members.

     4            20.        MAR negligently und recklessly put Plaintiffs' and Class Members PII at risk and the

     5     Pll , on information and belie[ was actually ~to lcn.
     6            2 1.       lcgitimall.! organizations and the criminal underground alike recognize the value of Pll.

     7 Othe rwi se, they would not aggressively seek or pay for it. As previous ly seen in one of the world's
     8     largest breaches, hackers compromised the card holder data of 40 million customers.

     9             2 2.      Credit or debit card information is highly valuable to hackers. Credit and debit card

    IO info,mation that is stolen from the po int of sale arc known as "dumps." Credit and debit card dumps

    11     can be sold in the c ybcrcrimc underground for a retail va lue of about "$20 apiece." This infonnation

    12     can also be used to c lone a debit or crcdil card.

    13 C.          The Data Breucll /las mu/ Will Result ill Atltlitiotwl h/e11tily Tlteft a11d llle11tity Frt111d

     14            _., _
                   ')"'I
                             Marrion fai led to implement and maintain rcasonnblc security procedures and practices

     15    appropriate to the nature and scope of the infonnation compromised in the data breach.

     16            24.       The ramification of i\.-larriott's failure to keep Plaintiffs and Class Members ' data

     17    secure is severe.

     18            25.       According to Javelin Strategy and Research, "one in every three people who is notified

     19    or being a potential fraud victim becomes one . . . with 46% of consumers who had cards breached
    20     becoming fraud victims that same year." ''Someone Became an Identity Theft Victim Every 2

    21     Seconds Last Ycar," Fox Business, Feb. 5, 2014 available at http:// www.foxbusiness.com/personal-

    22 finance/ 2014/02/05/someonc-hccamc-iclentit ythe ft-vie ti m-evcry-2-seconds-lac;t-ycar.htm I
     _.,
    ?"'            26 .       It is incorrect lo assume that reimbursing a consumer for a financial loss due to fraud

    24     makes that individual who le again. On the contrary, after conducting a study, the Department of

     25    Justice ' s Bureau of Justice Statistics (''13JS'') found that '·among victims who had personal infonnation

     26    used for fraudulent purpose!'- , 29% spent a month or mo re resolving problems.'' See ''Victims of

     27    Identity        Thett."    U.S.     Department       or    Justice.     Dec      2013,     available      {If

     28

                                                                 5
                                                   Cl.ASS ACTION COMPLAINT



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            https://www.bjs.gov/contcnUpub/pdf/vit 12.pdf. ln fact, the BJS reported, "resolving the problems

       2    caused by identity theft l could I lake more than a year for some victims."

       3 D.         A111111a/ Monetary Losse.'i /mm Identity Theft "re i11 tire Billions of Do/l"rs

       4            27.     Javelin Strategy and Research rcpoits that those losses increased to $21 billion in

       5 2013, See 2013 Identity Fraud Report. There may be a time lag between when harm occurs and when
       6    it is discovered, and also between when PII is stolen and when it is used. According to the U.S .

       7 Government Accountability Oflice ('·GAO"), which conducted a study regarding data breaches:
       8
                    lLJaw enforcement officials told us that in some cases, stolen data may be held for
       9            up to a year or more before being used to commit identity theft. Further, once
                    stolen data have been sold o r posll!d on the Web, fraudulent use of that information
       10
                    may continue for years. As a result, studies that attempt to measure the harm
       11           resulting from data breaches cannot necessarily rule out all future hann. GAO.
                    Report to Congressional Requesters, at 33 (June 2007), availah/e at
       12           http ://www.gno.gov/ncw. itcms/d0773 7 .pdr (attached hcn:lo as Exhibit I)

       13           28.     Plaintiffs and Class Members now lace years of constant surveillance oftheir linancial

       14   and personal records. monitoring, and loss of rights. The Class is incurring and will continue lo incur

       l 5 such damages in addition to any fraudulent credit and debit card charges incurred by them and the

       16   resulting loss of use of their credit and access to funds, whether or not such charges arc ultimately

       17   reimbursed by the credit card companies.

       18   £.       l'/ai11tiff.'i ""'' Clll ....'i Members Suffered Damages

       19           29.     The data breach was a direct and proximate res ult of Marriott's failure to properly

       20   safeguard and protect Plaintiffs and Class Members ' Pl! from unauthorized access. use, and

       21   disclosure, as required by various state and federal regulations, industry practices, and the common

       22   law. including Marriott 's failure to establish and implement appropriutc administrative, technical. and

       23   physical safeguards to ensure the security and conlidcntiality of Plaintiffs and Class Members' Pll to

       24   protect against reasonably foreseeable threat s to the security or integrity of such infonnation.

       25           30.     Plaintiffs and Class Members' PII is private and sensitive in natun: and ,vas

       26   inadequately protected by Marriotl. Marriott di<l not obtain Plainli ffs and Class Members' consent to

       27 disclose their Pll, except to certain persons not relevant to this action, as required by applicable law

       28 and industry standards.


                                                                  6
                                                   CLASS ACTION COMPLAINT



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                 31.       As a direct and proximate result of Marriott's wrongful action and inaction and the

     2    resulting data breach, Plaintiff.'> and Class Members have been placed at an imminent, immediate, and

      3 continuing increased risk or hann from identity then and identity fraud, requiring them to take the

     4    time and effort to mitigate the actual and potential impact of the subject data breach on their lives by,

      5 among oth~r things. plm.:ing ·'frec;,cs.. and ·'alerts" ,vith credit reporting agencies, contacting their

      6   linancial institutions. closing or modifying financial accounts, and closely reviewing and monitoring

      7 their credit reports and accounts for unauthorized activity.
      8
                  ... ,,
                  .) "-.   Marriott· s wrongful actions and inaction directly and proximately caused the thet\ and

      9 dissemination into the public domain of Plaintills and Class Members' Pll, causing them to suiler. and

     10   continue to suffer, economic damages and other actual harm for which they arc entitled to

     11   compensation, including:

     12           a.       Theft of their Pl!, inclutling on infomiation and belief actual theft of credit/debit card

     13           numbers:

     14           b.       The imminent un<l ccrtainly impending injury flowing from potential fraud and identity

     15                    theft posed by their Pl I being placed in the hands of criminals and already misused via

     16                    the sale of Plaintiffs an<l Class Members' infonnation on the Internet black market;

     17           C.       ·1he untimel y and inatlcquutc notification of the data breach;

     18           J.       The improper disclo~ure of their J>ll:

     19           C.       Loss   or privacy;
     20            r.      Ascertainable losses in the form of out-of-pocket expenses and the value of their time

     21                    n:asonubly incurTcd to remt:dy or mitigate the effects of the data breach;

     22            g.      Ascertainable losses in the form or deprivation of the value of their PII, for which there

                            is a well-established national an<l international market;

     24            h.      Overpayments to Marriott !'or cn.;dit reporting services during the subject data breach in
                           that a portion of the price paid for such services by Plaintiffs and Class Members to

     26                    Murnott was for the costs of reaso nable and adequate safeguards and security rm:asures

     27                    that would protect customers' PII , which Marriott did not implement and. as a result,

     28                    Plaintiffs and Class Members did not recei ve what they paid for and by Marriott; and




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                  1.       Deprivation of rights they possess under the Unfair Competition Laws.

       2                                V.      CLASS ACTION ALLEGA TlONS

       3          33.       Plaintiffs brings this action on her own behalf and on behalf of all other

       4   persons similarly situated pursuant lo Cal(fim1iu Civil Cude§ 1781 (hereinafter, "The Class"). The

       5 Class is composed of:
       6                    All persons residing in California whose PII was disclosed in the data

       7                    breach in 2014-2018 (the ··Cali fomia Class'').
                            All persons residing Nationwide whose PU was disclosed in the data
       8
                            breach in 2014-2018 (the '·Nationwide Class") (Collectively relerrcd to as
       9                    "The Class'")

      10          34.       Plaintitrs docs not know the l!:<act number of members of The Class, since that

      11   infom1ation is within the exclusive control of Delcnd:mts. But, the members ofThc Class arc believed to
      l2   be in the millions. The Class is so numerous that join<lcr of all members is impracticable.

      13          35.       The l'lainliffs and the members or The Class share a community of interest, as

      14   lhcy all have a same or similar claim arising from the same or similar wrongful actions and omissions

      15   of Defendants, and each of them.

      16                 37. There are questions of law and/or fact common to The Class, which arc

      17   substantially similar and predominate over the questions affecting the individual members. The

      t8   claims and/or defenses of the representative Plaintiffs arc typical of the claims and/or defenses of

      19   The Class and all arc based upon the same legal theories. The representative Plaintiffs will fairly

      20 and adequately protect the interests of The Class. The Class Action is an appropriate method for

      21   the fair and efficient adjudication of the controversy.

                   38.      Plainti(I-. can and will fairly and adequately n.:prcscnt the interests of The

      23   Class through Plaintiffs' attorneys, who arc competent and qualified to prosecute;: this litigation.

      24           39.      t\ class action is an appropriate method for the fair and erlii..:icnl adjudication

      25   of this controversy.

      26                                                   COUNTI

      27                                         Breach of Written Contract

      28                                     (On Bchalfof Plaintiffs and the Class)



                                                  CLASS ACTION COMl'LAIN"I



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                               40.     Plaintiffs incorporates lhc substantive allegations contained in each and every

               2        paragraph of this Complaint.
               ..,...          41.     Marriott s olicited a nd invited Plaintiffs and the members of the Class to entrust

               4        Marriott with their J>II as defined above.

               5               42.     When Plaintiffs and Class Members used Marriott' s services, they provided their

               6        Private Identifiable Information. In so doing, Plaintiffs and Class Members entered into a contracts

               7        with Marriott pursuant to which Marriott agreed to safeguard and protect such information and to

               8        timely and accurately notify Plaintiffs and Class Members if their data had been breached and

               9 compromised. Spcci!ically, MAR 's privacy policy states under the section "Security" under their
              IO        Marriott Group Global Privacy Statement:

              11               .. We seek to use reasonable organization.ii, technical and administrative measures to protect

              12               l\:rsonal Data"

              I3               43.     Personal data and financial information provided lo Marriott by Plaintiffs and Class

              \4        Mcmhcrs was provided pursuant to the mutually agreed-upon contract with Marriott under which

              15        Marriott agreed to safeguard und protect Plaintiffs and Class Members' Private ldcntiliublc

              16        Information and lo timely and accurately notify them if such information was compromised or stolen.

              17               44.     Plaintiffs an<l Class Members would not have provided and entrusted their Private

              18        [dcntifiablc Information to Marriott in the absence of the contract between them and Marriott.

              19               45.     Plaintiffs and Class Members fully performed their obligations under the implied

              20        contracts with Marriott.

              21               46.     Marriott breached the contracts it made with Plaintiffs and Class Members by failing lo

              22 . safeguard and protect the Private klcnlifiable lnfonnation or Plaintiffs and Class Members and by
              23        foiling to provide timely and accurate notice to them that their Private Identifiable Information was

              24 ' compromised as a result of the data breach.

              25               47.     As a direct and proximate result of Marriott's breaches of the contracts between

I   •
              26        Marriott and Plaintiffs and Class Members, Plaintiffs and Class Members sustained actual losses and

              27 damages as described in detail above.
              28                                                     COUNT II

                                                                          9
                                                             Cl.ASS ACTION COMPLAINT



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                                                         Negligence

       2                                   (On Behalf of Plaintiffs and the Class)

       3           48.     Plaintiffs repeats and fully incorporates the allegations contained in each and every

       4    paragraph of this Complaint.

       5           49.     Upon accepting Plaintiffs and Class Members' Private Identifiable lnfommtion in their

       6    system, Marriott undertook and owed a duty to Plaintiffs and Class Members to exercise reasonable

       7 care to secure and safeguard that information from being compromised, lost, stolen, misused, and

       8    or/disclosed to unauthorized parties, and to utilize commercially reasonable methods to do so. This

       9    duty included, among other things, designing, maintaining, and testing Marriott's security ~ystcms to

       10 · ensure that Plaintiffa and the Class Members' PII was adequately secured and protected.

       tl          50.     Marriott further had a duly to implement processes that would detect a breach of itc;

       12   security system in a timely manner.

       13          51.     Marriott also had a duty to timely disdosc to Plaintiffs and Class Members that their

       14   Private Identifiable Information had been or was reasonably believed to have been compromised.

       15   Timely disclosure was appropriate so that, among other things, Plaintiffs and Class Members could

       16   take appropriate measures to avoid use of bank funds, and monitor their account information and

       17 credit reports for fraudulent activity.
       18           52.     Marriott breached its duty to discover and to notify Plaintiffs and Class Members of the

       I9   unauthorized access by foiling to discover the security breach within reasonable time and by failing to

       20   notify Plaintiffs and Class Members of the breach timely. To date, Marriott has not provided

       21   sufficient information to Plaintiffs and Class Members regarding the extent and scope of the

       22   unauthorized access und continues to breach its disclosure obligations to Plaintiffs and the Class.

       23           53.     Marriott also breached its duty to Plaintiffs and Class Members to adequately protect

       24   and safeguard this information by knowingly disregarding standard information security principles,

       25   despite obvious risks, and by allowing unmonitored and unrcstrictt:d access to unsecured Private

       26   Identifiable Information. Furthering its negligent practices, Marriott failed to provide adequate

       27   supervision and oversight of the Private Identifiable lnfonnation with which it is entrusted, in spite of

       28   the known risk and foresccuble likelihood     or breach and misuse, which permitted a third party to
                                                               10
                                                  CLASS ACTION COMPLAINT



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          gather Plaintiffs' and Class Members· Private Identifiable lnfonnation, misuse the Private Jdentifiablc

     2    Information, and intcntionully disclose it   to   others without consent.

     3            54.    Through M;1rriott' s acts and omissions described in this Complaint, including

     4    Marriott's failure to provide adequate security and its failure to protect Plaintiffs and Class Members'

     5 Private Identifiable Information from being forcsccably captured, accessed, disseminated, stolen, and
     6 misused, ~farriott unlawfully breached its duty to use reasonable care to adequately protect and secure

     7    Plaintiffs and Class Members· Private Identifiable Information during the time it was within

     8 Marrio tt' s control.

     9            55.     Further. through its failure to timely discover and provide clear notification of the data

    10 breach to consumers, Marrion prevented Plaintiffs and Cluss Members from taking meaningful,
    11    proactive steps to secure their Private ltkntifiablc Information.

    12            56.     Upon information and belief, Marriott improperly and inadequately safeguarded the

    13    Private ldcntiliablc Information of Plaintiffs and Class Members in deviation from standard industry
    14    rules, regulations, and practices at the timc of the data breach.

    15            57.     Marriott's failure to take proper security measures to protect Plaintiffs and Class

    16 Mcmhcrs· sensitive Pl I as described in this Complaint, created conditions conducive to a foreseeable,

    17    intentional criminal act. namely the unauthorized access of Plaintiffs and Class Members' Private

    18    Ickntiliahlc Information.
    )<)           58.     Marriott's conduct was grossly negligent and departed from all reasonable standards of

    20 cc1rc. including. but not limited to: failing to adequately protect the Private Identifiable Information;

    21    failing to conduct adequate regular security audits; failing to provide adequate and appropriate

    22    supervision of persons having access to Plaintiffs and Class Members' Private Identifiable

    23    Information.

    24            59.     Ncithcr Plaintiffs nor the other Class Members contributed to the data brcach and

    25    subsequent misuse of their Private Identifiable lnfo1mation as described in this Complaint. As a direct

    26 and proximate result of Marriott ' s negligence, Plaintiffs and Class Members sustained actual losses

    27 and damages as described in detail ahm~.
    28                                                      COUNT Ill

                                                                 11
                                                C l ./\SS ACTION COMPLA 1NT



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              Violation of California's Unfair Competition Law Cal. Bus. & Prof. Code§ 17200 Unlawful
        '")
                                                       Business Practices

        3                                    (On Behalf or Plaintiffs and the Clas!-.)

        4            60.     Plaintiffs repeats and fully incorporates the allegations contained in each and every

         5 allegation of this Compluinl.

         6           61.     Marriott has violated Cal. Bus. and Prof. Code ~ 17200 cl seq. by engaging in unlawful,

         7 unfair or fraudulent business acts and practices an<l unfair, deceptive, untrue or misleading advc11ising
         8    that cons titute acts of •·unfair competition·• as ddincd in Cal. Bus. Prof. Code § 17200. Nlarriotl

         9    engaged in unlawful acts and practices with respect to its services by establishing the sub-s tandard

        10    security practices and procedures described herein; by soliciting and collecting Plaintiffs' und C lass

        11    Members' Private IJcntiliable Information with knowledge thnt the information would not be

        12    adequately protected; and by gathering Plaintiffs' und Class Members ' Private ltlcntiliablc

        13    Information in an un~ecurc electronic environment in violation ofCalifomia ·s data breach stutute, Cal.

        14    Civ. Code § 1798.81.5, which requires !'vlanfott to take reasonable methods of safeguardi ng the

        15    Private l<lcntifiablc Information of Plaintiffs and the Class Members.

        16            62.     In addition, Marriott engaged in unlawful acts and practices with respect to its services
        17    by foiling to discover and then disclose the data breach to Plaintiff.,_ and Class Members in a timely

        l8    and accurate manner, contrary to the duties imposed by Cal. Ci v. Code § 1798.82. T o date, Marriott

        19    has still not provided such sufficient information to Plaintiffs and the Class Members.

        20            63.     As a direct and proximate result of M,miott 's unlawful acts and practices. Plaintiffs

        2 1 and the Class Members were injured and lost money or property, including but not limited to the luss

        22    o f their legally protected interest in the conlidcntiality and privacy of their Private 11.kntifiubll!

        23    Information, and additional losses described ahovc.

        24            64.     Marriott knew or should han: known that its system had been breached and data

        25    security practices were inadequate to safeguard Class Members' Privatt: Identifiable Information and

        26    that the risk of a data breach or theft was highly likely. Marriott' s actions in engaging in the abovc-

        27    named unlawful practices and acts were negligent. knowing and w illful. and/or wanton and rcckh:ss

        28    with respect to the rights of Class Members.

                                                                 12
                                                    CLASS AC'I ION COMPLAINT



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                     65.     Plaintiffs and members of the Class seek relief under Cal. Bus. & Prof. Code§ 17200,

     2 er. seq., including, but not limited to, restitution to Plaintiffs and Class Members of money or property

     3 that Murriott may have acquired by means of its unla\vl'ul, und unfair business practices, rcstitutionary
     4       disgorgcmcnt of al I profits accruing to Marriott because of its unlawful and unfair business practices,

     5 declaratory relier, attorney's fees and costs (pursuant to Cul. Code Civ. Proc.§ 1021.5), and injunctive

     6       or other equit.iblc relief.

     7                                                      COUNT IV

     8          Violation of California's Unfair Competition Lnw Cal. Hus. & Prof. Code §17200 Unfair

     9                                                  Business Practices

    10                                        (On Behalf of Plaintiffs and the C la:.s)

    J]   I           66.      Plaintiffs repeats and fully incorporates the allegations contained in each and every
    12 al legation of this Complaint.

    13               67.      Marriott engaged in unfrti r acts and practices by soliciting and collecting Plaintifls' and
    1--t Cla~:,; Members' Private Identifiable lnfo1mation with knowledge that the information would not be

    15       adequately protc1;tcd; while Pluintiffs' and the Class Members' Private Identifiable lnfonnation would

    16 be processed in an unsccure electronic environment. These unfair acts and practices were immoral,

    17       unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious lo Plaintiffs and

    18 the Class Members. They were likely to deceive the public into believing their Private Identifiable

    19       Jnfi.wmation was secure, when it was not. The harm these practices caused to Plaintifts and the

    20       members    or the Class outweighed their utility, if any.
    21                68.     Marriot! cngaged in unfair ,lets and practices with respect to the provision of its

    22       services by failing to enact adequate privacy and security measures and protect Clac;s Members'

    23       Private Identifiable Information from further unauthorized disclosure, release. data breaches, and Lhcfl,

    24       and foiling to timely discovery and give notice of the Data Breach. These unfair acts and practices

    25       were immoral, unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to

    26       Plaintiffs and Class Members. They v,-erc likely to deceive the public into believing their Private

    27       I<lcntitiablc Information was c;ccun:. when it was not. The harm these practices caused to Plaintiffs
    28 and the Class Members outweighed their utility, if any.

                                                                   13
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                    69.      As a direct and proximate result of Marriott·s acts              or unfair practices   and acts,

        2    Plaintiffs and the members of the Class were injured and lost money or propcrty, including but not

        3    limited to the loss of their legally protected interest in the confidentiality and privacy of their Pll, and

        4    additional losses described above.

        5            70.     Marriott knew or should have known that its systems and data security practices were

        6    inadequate to safeguard Class Members· Private Identifiable Information and that the risk of a data

        7    breach or theft was highly likely. Marriott's actions in engaging in the above-named unlawful

        8    practices and acts were negligent, knowing and willful . and/or wanton and reckless with respect to the

        9    rights of the Class Members.

        10           71.     The members of the C las" seek relief under Cal. Bus. & Prof. Code § 17200, et.

        11   seq., including, but not limited to, n:stitu1ion to Plaintifls and Class Members of money or
        12   property that the Marriott   OHi)    havl! acquired by means uf' its unfair business practi<.:cs,

        13   rcstitutionary disgorgcmcnt of all profits accruing to Man·iott bc.:1.:ausc of its unfair business

        14   practices, declaratory relief, attorney's fees and costs (pursuant to Cal. Code Civ. Proc. § I 021 .S).

        15   and injunctive or other equitable relief.

        16                                                      COUNTY

        17          Violation ofCulifornin's Unfair Competition Law Cul. Hus. & Prof. Code §17200

        18                                  Fraudulent/Deceptive Business Practices

        19                                       (On l3chalr of Plaintiffs and the Cla!>s )

        20            72.     Plaintiffs repeats and fully im:orporatcs the allegations contained in each and every

        21   allegation of this Complaint.

        22            73.     Marriott engaged in fraudulent and deceptive acts and practices by representing and

        23   advertising that it would maintain adcquate data privacy and security practices and procedures to

        24   safeguard Plaintiffs' and the Class Members· Private Identifiable Information from unauthorized

        25   disclosure, release, data breaches. and thcfl ; and representing. and ad\'ertising that it did and would

        26 comply with the rcquircmenls ofrclcvant federal and state laws pertaining to the privacy and security

        27 of the members of the Class' Private Identifiable Information. These representations were likely to

        28   deceive members of the public, including Plaintiffs and Class Members, into believing their Private

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          Itkntiliablc Information was securely sturcd, when it was nut, and that Marriott was complying with

    2     rdcvant law, when it w as not.

    J            74.      Marriott engaged in fraudulent and deceptive acts and practices by omitting,

    4     suppressing, and eonc1:aling the material fact of the inadequacy of the privacy and security

     5    protections for C lass Members' Private Identifiable Information. At the time that Class Members

     6    were using Marriott's system, Marriott failed to disclose to Class Members that its data security

     7 systems failed lo mccl legal and industry standards for the protection of their Private Identifiable

     8    Information. Plaintiffs would not have entrusted Marriott with their private information if they

     9    had known about its substandard data security practices. The::;e representations were likely to

    JO deceive members of the public, including Plaintiffs and the Class Members, into believing their

    11    Private Identifiable Infhrmution ,.,·as secure, when it was not, and that Man'ioll was complying

    12    with relevant law anti industry standards, when it was not.

    13            75.       As n direct and proximate result of Marriott's deceptive practices and acts,

    14    Plaintiffs and the Class Members were injured and lost money or property, including but not

    15    Iimitc<l to the loss of their legally protected interest in the con!idcntiality and privacy of their

    16     Private ldcntilfabk Information, and additional losses described above.

    17            76.       Marriott knew or should have kn()wn that its system and data security practices

     18    ,verc inadequate to safeguard Clas s Members' PII and that the risk of a data breach or theft was

     19    highly likely. Marriott's actions in engaging in the above-named unlawful practices and acts were

    20     negligent, knowing and willful, and/or wanton and reckless with respect to the rights of Class

    21     Members.

    22            77.       Class Members seek relief under Cal. Bus. & Prof. Code§ 17200) et. seq.,

    23     including, but not limited to, restitution to Plainti ffs and Class Members of money or property that

     24    Marriott may have acquired by rncans     or its fraud ulent and deceptive business practices,
     25    rcstitutionary disgorgcment of all profits accruing to Marriott because of its fraudulent and

     26    deceptive business practices, decl aratory rel ic!~ attorney' s fees and costs (pursuant to Cal. Code

     27    Civ. Proc.   *1021.5), and injunctive or other equitable relief.
     28                                                   COUNT VI

                                                               15
                                                  C LA SS /\CTION COMPLAI NT



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                                             Constitutional lrn·asion of Privacy
        2                                    (On Behalf of Plaintiffs and the Class)

        3            78.    Plaintifts repeats and fully incorporates the allegations contained in each and every

        4    allegation of this Complaint.

        5            79.    C al. C onst., Art. 1., section 1 provides that "la]II people arc by nature free and

        6 independent and have inalienable rights. Among these are enjoying and defending lifo and liberty,

        7 acquiring, possessing, and protecting property, and pursuing and obtaining salcty, happiness, and

        8    privacy.''

        9            80.    Plaintiffs and Class members had a legally protected privac.:y interest in the Private

       10    Identifiable lnfonnation provided to Marriott.

       11            8 I.   Plaintiffs and Class Members had a reasonable expectation of privacy as to the

       12    Private Identifiable lnformat1on they provided to Marriott under the circumstances of their

        13   purchases.

        14           82.    Marriott's actions and inactions amounted to a serious invasion of the protected

        15   privacy interests of Plaintiffs and Class Members.

        16           83.     Marriott·s invasion of Plaintiffs and Class Members' reasonable expectation of

        17   privacy caused Plaimiffs and Class members to suffe r damages.

        18                                                COUNT VII

        19                                             Negligence Per Se

        20                                   (On Behalf of Plaintiffs and the Cl.iss)

        21           84.     Plaintiffs repeals and fully incorporates the alh.:gations contained in each and every

        22   allegation of this Complaint.

        23           85.     Pursuant to stale laws in California, Marriott had a duly to those California Class

        24   Members to implement and maintain reasonable security procedures and practices to safeguard

        25   Plaintiffs and Class Members' Personal Information:

        26                   a.   California: Cal C iv. C ode § 1798.81.5

        27           86.     Marriott breached their duties to Plaintiffs and California Class Members as

        28   established under Cal Civ. Code § 1798.8 l .5 by foiling to provide fair, reasonable, or adequate

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         computer systems and data security practices to safeguard Plaintiffs and Class Members' Personal
     2   Information .

     3          87.       Marriott's failure   lo   comply with applicable laws and regulations constitutes
     4   negligence per se.

     5             88.    But !'o r Marriott· s wrongful and negligent breach of their duties owed to Plaintiffs

     6   and California Class Members, Plaintiffs and California Class Members would not have been
     7 i11jurcd.

     X             89.    The injury and harm suffered hy Plaintiffs and Califbrnia Class Members was the

     9   reasonably li.>rcsecablc result of Marriott's breach of their duties. Marriott knew or should have

    IO   known that they were failing to meet their duties, and that Marriott's breach would cause Plaintiffs

    11   and California Class \tlcmbcrs to experience the foreseeable harms associated with the exposure of
    l2   their Personal Information .

    13             90.    As a direct and proximate result of Marriott' s negligent conduct, Plaintiffs and
    14 Class Members have suffered injury Hnd arc entitled to damages in an amount to be proven at trial.
    15                                                    COUNT VIII
    16                    Breach of the Covenant of Duty of Good Faith and Fair Dealing
    17                                    (On lkh:itr of Plaintifts and the Class)

    18             91.    Plaintiffs repeats and fully incorporates the allegations contained in each and every

    19 allegation of this Complaint.

    20             92.    The law implies a covcnant of good faith and lair dealing in every contract.
    21             93 .   Plaintiff,; and Class Members contracted with Defendant Marriott by ucccpting

    22   Defendant Marriott's services.
    23             94.    Plaintiffs an<l Class Members performed all of the significant duties under their

    24   agreements with Dcfcnd:.mt Marriott.

    25             95 .   The conditions required for Dctendunt Marriott' s performance under the contmct

    26   has occurred.

    27             96.    Defendant Marriott did not provide and/or unfairly interfered with and/or frustrated
    28 the right of Plaintins and the Class Members to receive the full benefits under their agreement.

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                          97.      Marriott breached the covenant of good faith and fair dealing implied in its

              2 contracts with Plaintiffs and the Class Members by failing to use and provide reasonable and

              3 industry-leading security practices.
              4           98.      Plaintiffs and the Class Members were damaged by Marriott's breach in that they

              5    paid for, but never received, the valuable security protections to which they were entitled , and

              6    which would have made their products and services more valuable.

              7                                                     COUNT IX

              8                                    Violation of State Data Breach Acts

              9                                    (On Behalf of Plaintiffs and the Class)
              10           99.     Plaintiffs repeats and fully incorporates the allegations contained in each and every

              11   allegation of this Complaint.

              12           100.    Marriott owns , lkcnsc-., and/or maintains computerized data that includes Plaintiffs

              13   and Class Members' PII.

              14           101.    Marrion was required to, but failed, lo take all reasonable steps to dispose, or

              1S arrange for the disposal, of records   \ Vi thin   its custody or control containing Pl l when the records

              16 were no longer to be retained, by shredding, erasing, or otherwise modifying the personal

              17   information in those records to make it unreadable or undcciphcrahlc through any means.

              18           102.    Marriott's conduct, as alleged above, violated the data breach statutes of California,

              19   including: California, Cal. Civ. Code§§ 1798.80 ct. seq.;

              20           I 03.   Man-iott was required to, but failed, to implement and maintain reasonable security

              21   procedures and practices appropriate to thi: nature and scope of the information compromised in

              22   the Data Breach.

              23           I 04.   The Data Brcuch constituted a .. hrcach of tlu: security system" within the meaning

              24   of section 1798.82(g) of the California Civil Code.

              25           I 05.   The information compromised in the Data Breach constituted ·'perso nal

              26   information·· within the meaning of section 1798.80(e) of the California Civil Code.
I •
              27           106.     Like other State Data Breach /\els, California Civil Code § 1798.80(e) requires
              28   disclosure of data breaches "in the most expedient time possible a nd without unreasonable dday ..

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                                                        CLASS ACTION COMPLAINT



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         "
    2             I 07.    Marriott violated Cal. Civ. Code§ l 798.80(c) by unreasonably delaying disclosure

    3 of the Data Breach to Pia inti ffs and other Class Members, whose Pll was, or was reasonably

    4    belic, cd to have hccn, acquired by an unauthorized person.
              1




    5             l 08.    Upon information and belief: no law enforcement agency instmctcd Marriott that

    6 noti fie at ion to Plaintiffs and Class \\,1embers would impede a criminal investigation.
     7            l 09.    As a result of Marriott's violation   or State Dnta Breach Acts, including Cal. Civ.
     8 Code § 1798.80, ct seq., Plainti ffs and Class Members incurred economic damages, including

    9    expenses associated with monitoring their personal and financial information to prevent further
    IO   fraud.

    11            I l 0.   Plainti ffs, individually and on behalf of the Class, seek all remedies available under
    12   Cal. Civ. Code§ 1798.84, including, but nol limited to: (a) actual damages suffered by Class

    13   Members as alleged above; (b) statutory damages for Marriott's willful, intentional, and/or
    14   reckless violation of Cal. Civ. Code § 1798.83; (c) equitable relief; and (d) reasonable attorneys'

    15   fees and costs under Cal. Civ. Code § I 798.84(g).

    16            I 11.    Because Marriott wa-; guilty of oppression, fraud or mat ice, in that it failed to act
    17 with a willful and conscious disregard of Plaintiffs and Class Members' rights, Plaintiffs also

    18   seeks punitive damages, individually and on behalf of the Class.

    l9                                             PRAYER .FOR RELIEF
    20            WHEREFORE, Pl.iinliffs, individually and on behalf of all Class Members proposed in

    21   this Complaint, rcspcctll.1lly requests that the Court enter judgment in her favor and against

    22   Marriott as follo"v:;:
    23            A        For an Order certifying the National and California Class as defined here, and
    24                     appointin g Plaintiffs and her Counsel to represent the National and California
    25                     Class;
    26            B.       For equilabk relief enjoining Marriott from engaging in the wrongful conduct

    27                     complained of here pertaining to the misuse and/or disclosure of Plaintiffs and
    28                     Class Members' Prh·atc l<lcntiliahlc Information, and from refusing to issue

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                              prompt. complete, and accurate disclosures to the Plaintiffs and Class Members;
        2            C.       For equitable relief compelling Marriott 10 utilize appropriate methods and policies
        3                     with respect to consumer data collection, storage, and safety and to disclose with
        4                     specificity to Class Members the type of PII compromised.
        5            D.       For equitable relief requiring restitution and disgorgcmenl of the
        6                     revenues wrongfully retained as a result of Marriott's wrongful conduct;
        7            E.       For an award of actual damages and compensatory damages, in an
        8                     amount to be determined;
        9            F.       For an m,vard or costs of suit and anorncys' fees. as allowable by law; and
        10           G.       Such other and further relief as this court may deem just and proper.
       11            E.       For Punitive Damages.
        12

        13   DATED: November 30, 2018                      GIRARDI I KEESE
        14

        15

        16
                                                           By:        /l-fO-
                                                                 KEITH D. GRIFFIN, ESQ.
                                                                 Attorneys for PLAJNTIFFSS
        17

        18
                                                VI.    DEMAND FOR ,JURY TRlAL
       19
                     Plaintiffs, on behalf of themselves, and all others similarly situated. hereby demands a jury
       20
             trial for all claims so triable.
       21

       22
             DATED: November 30, 2018                      rnRARDl I KEESE

       23
       24                                                  By:
       25
                                                                 ----    - GRIFFIN,
                                                                 KEITI I 0. ----~--------
                                                                                    ESQ.                           -~-
                                                                 Attorneys for PLAINTIFFSS
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                                                      CLASS ACTION COMPLAINT




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